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11

12
                               UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14

15                                    SAN JOSE DIVISION

16
     UNITED STATES OF AMERICA,              )   Case No. CR-18-00258-EJD
17                                          )
            Plaintiff,                      )   MS. HOLMES’ MOTION TO EXCLUDE
18                                          )   EVIDENCE OF SETTLEMENTS UNDER
       v.
                                            )   FEDERAL RULES OF EVIDENCE 401-403 AND
19                                          )   408
     ELIZABETH HOLMES and
20   RAMESH “SUNNY” BALWANI,                )
                                            )   Date: January 22, 2021
21          Defendants.                     )   Time: 10:00 AM
                                            )   CTRM: 4, 5th Floor
22                                          )
                                            )   Hon. Edward J. Davila
23                                          )
24                                          )
                                            )
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     MS. HOLMES’ MOTION TO EXCLUDE EVIDENCE OF SETTLEMENTS
     UNDER FEDERAL RULES OF EVIDENCE 401-403 AND 408
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 1                      MOTION TO EXCLUDE EVIDENCE OF SETTLEMENTS

 2          PLEASE TAKE NOTICE that on January 22, 2021, at 10:00 a.m., or on such other date and time

 3 as the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose,

 4 CA 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Holmes will and hereby does

 5 respectfully move the Court pursuant to 401-403 and 408 of the Federal Rules of Evidence to exclude

 6 evidence of settlements. The Motion is based on the below Memorandum of Points and Authorities, the

 7 record in this case, and any other matters that the Court deems appropriate.

 8

 9 DATED: November 20, 2020
10

11                                                      /s/ Amy Mason Saharia
                                                        KEVIN DOWNEY
12                                                      LANCE WADE
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13                                                      KATHERINE TREFZ
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2          Ms. Holmes respectfully moves to preclude the government from introducing any evidence

 3 regarding civil or regulatory settlements by Theranos, Ms. Holmes, or any other individuals associated

 4 with Theranos (including Mr. Balwani), including evidence relating to the negotiation of those

 5 settlements. Between 2016 and 2018, Theranos and, in some instances, Ms. Holmes, entered into

 6 settlement agreements with various individuals and entities, including former business partners,

 7 investors, and federal and state agencies. As with most settlements, the purpose of the agreements were

 8 to resolve claims without having to go through protracted litigation. Neither Theranos nor Ms. Holmes

 9 admitted any of the allegations in the underlying cases.
10          The Federal Rules of Evidence make inadmissible evidence of prior settlement agreements,

11 including evidence that encompasses conduct or statements during settlement negotiations, when the

12 evidence is offered to “either prove or disprove the validity . . . of a disputed claim.” Fed. R. Evid. 408.

13 Despite this clear prohibition, the government has implied in filings that it intends to use settlements to

14 attempt to prove that Theranos technology was not capable of consistently producing accurate and

15 reliable test results. See ECF No. 267 at 2-3. Similarly, the government has included a settlement

16 agreement with a Theranos business partner on its exhibit list. The Court should preclude any such

17 evidence for several reasons.

18          First, Rule 408 plainly prohibits evidence of settlements and settlement negotiations to prove the

19 validity of the government’s claims in this case. And, even absent application of Rule 408, the

20 settlements are irrelevant under Rule 401 and therefore should be excluded under Rule 402. As the

21 Ninth Circuit has recognized, “‘evidence [of compromise] is irrelevant, since the offer may be motivated

22 by desire for peace rather than from any concession of weakness of position.’” Hudspeth v. Comm’r,

23 914 F.2d 1207, 1214 (9th Cir. 1990) (internal quotation marks omitted) (quoting Fed. R. Evid. 408

24 advisory committee’s note). Neither Ms. Holmes nor Theranos admitted liability, nor did they admit

25 any of the allegations in the complaints of the respective cases. There are myriad reasons why a party

26 chooses to settle a case—all of which are unrelated to whether the party is in fact liable for the

27 underlying claims.

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 1          Lastly, and relatedly, the prejudicial nature of the settlements would substantially outweigh any

 2 minimal probative value, making them inadmissible under Rule 403. “The prejudice that inheres in

 3 offers to settle is patently virulent.” Stockman v. Oakcrest Dental Ctr., P.C., 480 F.3d 791, 800 (6th Cir.

 4 2007). Doing so would mislead the jury into thinking that the issues at trial were already resolved

 5 against Ms. Holmes or that the settlements show consciousness of guilt. Additionally, the introduction

 6 of this evidence would run the risk of several mini-trials related to the terms of each settlement, the

 7 reasons for each settlement, and the underlying claims of each dispute. The Court should preclude the

 8 government from introducing this evidence.

 9                                                ARGUMENT

10 I.       Rules 408 Bars Settlement Evidence

11          “Federal Rule of Evidence 408 governs the admissibility of evidence of conduct or statements

12 made during settlement negotiations.” Manzo v. Cty. of Santa Clara, 2019 WL 2866047, at *3 (N.D.

13 Cal. July 3, 2019) (emphasis omitted). It provides that “furnishing, promising, or offering—or

14 accepting, promising to accept, or offering to accept—a valuable consideration in compromising or

15 attempting to compromise the claim” is inadmissible “either to prove or disprove . . . a disputed claim or

16 to impeach by a prior inconsistent statement or a contradiction.” Fed. R. Evid. 408; see also Rhoades v.

17 Avon Products, Inc., 504 F.3d 1151, 1161 (9th Cir. 2007) (“evidence from settlement negotiations may

18 not be considered in court ‘when offered to prove liability’” (emphasis omitted) (quoting Fed. R. Evid.

19 408)). “Two principles underlie Rule 408: (1) ‘[t]he evidence [of compromise] is irrelevant, since the

20 offer may be motivated by desire for peace rather than from any concession of weakness of position;’

21 (2) ‘[a] more consistently impressive ground is promotion of the public policy favoring the compromise

22 and settlement of disputes.’” Hudspeth, 914 F.2d at 1213 (quoting Fed. R. Evid. 408 advisory

23 committee’s note). “Negotiations in settling the dispute at hand serve both parties’ wishes in avoiding

24 trial.” Baltazar v. Target Corp., 2014 WL 12599626, at *7 (C.D. Cal. Oct. 22, 2014). “To admit such

25 discussions and offers as a form of liability would disrupt future efforts amongst parties in conducting

26 candid conversations of settling disputes.” Id. Indeed, the purpose of Rule 408 is to “ensure that parties

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 1 may make offers during settlement negotiations without fear that those same offers will be used to

 2 establish liability. . . .” Rhoades, 504 F.3d at 1161.

 3          The government has indicated its intent to use the settlements for exactly this prohibited purpose.

 4 In its opposition to Ms. Holmes’ Motion to Dismiss, the government argued that the fact that Theranos

 5 “refunded test fees to tens of thousands of patients after its misrepresentations were exposed”—actions

 6 taken as part of a settlement—proved that the tests were unreliable and “worthless.” ECF No. 267 at 7.

 7 In that same filing, the government noted that when faced with a lawsuit by the Arizona Attorney

 8 General, “Theranos entered into a settlement under which it refunded tens of thousands of patients the

 9 money they had paid.” Id. at 2. The clear implication of this argument is that Theranos settled because
10 the company was at fault for the claims in the lawsuits. Rule 408 bars the introduction of settlement

11 evidence for just this purpose, because “an offer or acceptance of a compromise is not very probative of

12 the defendant’s guilt” and “admitting such an offer or acceptance could deter a defendant from settling a

13 civil regulatory action, for fear of evidentiary use in a subsequent criminal action.” Fed. R. Evid. 408

14 advisory committee’s note.

15          In this case, all evidence of settlements—including for example with business partners like

16 Walgreens and Safeway, investors, and the SEC—should be excluded. 1 And any statements made in

17 settlement discussions with private parties are likewise inadmissible. See Fed. R. Evid. 408 advisory

18 committee’s note (“statements made during compromise negotiations of other disputed claims are not

19 admissible in subsequent criminal litigation, when offered to prove liability for, invalidity of, or amount

20 of those claims”). This is because “[w]hen private parties enter into compromise negotiations they

21 cannot protect against the subsequent use of statements in criminal cases by way of private ordering.”

22 Id. “Such a chill on settlement negotiations would be contrary to the policy of Rule 408.” Id.

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26          1
           Ms. Holmes has separately moved to exclude evidence of settlements with CMS and the
27 Arizona Attorney General’s Office.

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 1          Because the government intends to introduce into evidence, or at least reference, settlements or

 2 settlement negotiations by Theranos and/or Ms. Holmes in order to prove liability, the Court should

 3 exclude any evidence of the settlements or statements made when negotiating the settlements. 2

 4 II.      Evidence of Settlements Is Irrelevant

 5          Even if Rule 408 did not apply, evidence of the settlements is still irrelevant. Evidence is

 6 relevant if “(a) it has any tendency to make a fact more or less probable than it would be without the

 7 evidence; and (b) the fact is of consequence in determining the action.” Fed. R. Evid. 401. If evidence

 8 does not meet this standard, it is inadmissible. Fed. R. Evid. 402. Evidence of Theranos’ settlements is

 9 irrelevant to the charges in this case. As the Ninth Circuit has recognized, “evidence [of compromise] is
10 irrelevant, since the offer may be motivated by desire for peace rather than from any concession of

11 weakness of position.” Hudspeth, 914 F.2d at 1214 (internal quotation marks omitted) (quoting Fed. R.

12 Evid. 408 advisory committee's note.).

13          In this case, the settlements are irrelevant because they do not tend to prove Ms. Holmes’

14 liability. Theranos’ and Ms. Holmes’ decisions to settle disputes do not necessarily reflect their view

15 that the claims against them were valid. To the contrary, “[t]he numerous factors that affect a litigant’s

16 decision whether to compromise a case or litigate it to the end include the value of the particular

17 proposed compromise, the perceived likelihood of obtaining a still better settlement, the prospects of

18 coming out better, or worse, after a full trial, and the resources that would need to be expended in the

19 attempt.” SEC v. Citigroup Glob. Markets Inc., 673 F.3d 158, 164 (2d Cir. 2012). The settlement

20 agreements themselves make explicit this very point. For example, in a 2018 settlement with certain

21 investors, Theranos and Ms. Holmes expressly denied and disclaimed any wrongdoing or liability and

22 stated that they agreed to enter into the settlement agreement to avoid the further expense,

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24          2
               Theranos, Ms. Holmes, or any other individuals associated with Theranos entered into various
25   settlements. The government’s exhibit lists includes documents concerning settlements with Walgreens
     and Safeway. Other settlements include agreements that resolved claims brought by the SEC, Plaintiffs
26   in Colman v. Theranos, Inc., and Partner Investments, LP v. Theranos, Inc.; Hall Black Diamond II,
     LLC; Rupert Murdoch; Walgreens, and Safeway. Other civil litigation remains pending against Ms.
27   Holmes and, of course, the government should not be permitted to comment on or present evidence
     related to ongoing civil litigation.
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 1 inconvenience, and distraction of litigation, and to put to rest all claims that were or might have been

 2 alleged. Similarly, Ms. Holmes’ settlement with the SEC provides that she “consented to entry of this

 3 Final Judgment without admitting or denying the allegations of the Complaint.” Ex. 58 at 1 (SEC v.

 4 Holmes, 18-cv-01602 (N.D. Cal. 2018), ECF No. 9 at 1.) For these reasons, that Theranos and/or Ms.

 5 Holmes settled with various individuals or entities does not tend to prove the government’s allegations.

 6 Rules 401 and 402 therefore bar evidence about the settlements.

 7 III.     Rule 403 Bars Settlement Evidence

 8          Even if this evidence were relevant, it must be excluded because its “probative value is

 9 substantially outweighed by a danger of . . . unfair prejudice, confusing the issues, [or] misleading the
10 jury.” Fed. R. Evid. 403. “The prejudice that inheres in offers to settle is patently virulent.” Stockman,

11 480 F.3d at 800. “The almost unavoidable impact of the disclosure of such evidence is that the jury will

12 consider the offer or agreement as evidence of a concession” of liability. United States v. Christensen,

13 2016 WL 1753600, at *3 (D. Ariz. May 3, 2016) (internal quotation marks omitted) (quoting 2 Jack B.

14 Weinstein & Margaret A. Berger, Weinstein’s Evidence § 408.08[1] (2015)). “[A]s the framers of Rule

15 408 clearly contemplated, the potential impact of evidence regarding a settlement agreement with regard

16 to a determination of liability is profound.” United States v. Hays, 872 F.2d 582, 589 (5th Cir. 1989);

17 see also Trout v. Milton S. Hershey Med. Ctr., 572 F. Supp. 2d 591, 596 (M.D. Pa. 2008) (“Settlement

18 agreements . . . are inadmissible regardless of relevance if offered to establish liability for or the amount

19 of a claim or if introduction thereof would result in undue prejudice to an opposing party.”).

20          Injecting the settlements into this case would serve no purpose beyond improperly suggesting to

21 the jury that Ms. Holmes admitted fault or admitted that the claims against her were actually true. That

22 suggestion would be particularly problematic here, where the government must prove its case beyond a

23 reasonable doubt, whereas the civil claims against Theranos and Ms. Holmes were subject to a lesser

24 burden of proof. The jury might well be misled into construing the settlements as an admission of guilt

25 by Theranos or Ms. Holmes—even though Ms. Holmes’ alleged guilt must be assessed under a more

26 demanding standard than the civil claims at issue in those cases.

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 1          In United States v. Davis, the court held that even if the government sought to admit a settlement

 2 for a purpose other than proving the defendant’s guilt, it was inadmissible under Rule 403 because it was

 3 unfairly prejudicial. 2009 WL 3646459, at *5 (E.D. Pa. Nov. 4, 2009). The Court reasoned that the

 4 limited probative value of the evidence was outweighed by the “risk that a jury will view the agreement

 5 as a confession of liability and guilt, regardless of the purpose for which the evidence is received.” Id.

 6 The court observed that this prejudice was so great that “[e]ven a carefully crafted limiting instruction

 7 might not eliminate the prejudicial effect of the agreement.” Id.

 8          Similarly, in Hays, the government claimed that evidence of a settlement agreement “assisted the

 9 jury in its understanding of the breadth of the conspiracy.” 872 F.2d at 589. The court in Hays ruled
10 that the government’s stated purpose for admitting the evidence was “at direct odds with the clear

11 mandates of Rule 408,” and held that admission of evidence regarding the settlement was in error. The

12 court reasoned that “the potential impact of evidence regarding a settlement agreement with regard to a

13 determination of liability is profound. It does not tax the imagination to envision the juror who retires to

14 deliberate with the notion that if the defendants had done nothing wrong, they would not have [settled].”

15 Id. The same result should follow in this case. Admission of evidence concerning the settlements will

16 invite the jury to assume improperly that if Ms. Holmes or Theranos did nothing wrong then they would

17 not have settled with the various individuals and entities.

18          Finally, evidence of the settlements is inadmissible because it would necessarily require time-

19 consuming mini-trials. Ms. Holmes would be forced to rebut the government’s allegations that these

20 settlements demonstrate knowledge of inaccurate tests. Doing so would require an extensive

21 presentation of evidence regarding the circumstances under which the settlements were negotiated and

22 executed. As one court in this district put it, “[o]pening the Pandora’s Box of the parties’ settlement

23 communications . . . would involve engaging in a separate mini-trial that would take an inordinate

24 amount of time and muddy the issues to be decided by the jury.” Morton & Bassett, LLC v. Organic

25 Spices, Inc., 2017 WL 3838097, at *5 (N.D. Cal. Sept. 1, 2017) (“The parties would have to devote time

26 to explaining the context of the settlement discussions, why certain positions were taken in settlement

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 1 negotiations, and why other positions were not . . . . This would essentially be a mini-trial of the parties’

 2 settlement negotiations and the parties’ true views of the merits.” (internal quotation marks omitted)).

 3                                                CONCLUSION

 4          For the foregoing reasons, Ms. Holmes respectfully requests an order precluding the government

 5 from introducing any evidence or testimony regarding settlements, agreements, and the negotiations that

 6 led to those agreements, by Theranos, Ms. Holmes, or any other individuals associated with Theranos.

 7

 8 DATED: November 20, 2020                               Respectfully submitted,

 9
10                                                        /s/ Amy Mason Saharia
                                                          KEVIN DOWNEY
11                                                        LANCE WADE
                                                          AMY MASON SAHARIA
12                                                        KATHERINE TREFZ
                                                          Attorneys for Elizabeth Holmes
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 1
                                        CERTIFICATE OF SERVICE
 2
            I hereby certify that on November 20, 2020 a copy of this filing was delivered via ECF on all
 3
     counsel of record.
 4

 5
                                                        /s/ Amy Mason Saharia
 6                                                      AMY MASON SAHARIA
                                                        Attorney for Elizabeth Holmes
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